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Evaluation criteria and performance expectations are shared with students
and preceptors prior to the clerkship rotation.

Hospital affiliations are listed in the school catalog. Students are not
expected to find their own clerkships.

There is demonstrated continuity between the basic science campus and the
clinical medicine program.

Students are permitted choices and preferences for clerkship assignments.
There are sufficient clerkship and staff members to process and track all
students during third and fourth year rotations.

Students are given timely notification of assignments, particularly those that
involve geographical relocation.

There are a sufficient number of hospitals and preceptors in hospitals with a
structured teaching program to meet student needs.

Affiliated hospitals have sufficient clinical teaching material for students.
Full-time qualified medical school administrative staff are available to monitor
the student's progress on a regular basis.

Hospitals and preceptors are monitored on a regular basis by appointed
staff.

Student evaluations are done on a regular basis for each clerkship
experience.

Clerkship credit is never given for on the job training as an allied health
professional. Clerkship students are fulltime medical students.

contion Vi Faculty:

Names educationa! background and qualifications of faculty are reported in
the school catalog and accurately represent actual on site, fulltime faculty.
There is sufficient experienced, full-time, qualified faculty to teach each
course in the curriculum.

Full-time faculty member are in residence at the site of the basic science
campus. There is minimum reliance on part-time or visiting faculty.

Each basic science division has a qualified, designated chair or director.
Faculty are not expected to cover more than 2 courses or teach out of their
areas of expertise.

Faculty are encouraged to conduct scholarly research.

Faculty members are expected to participate in standing committees.
Professional development opportunities are available to faculty locally.
There are provisions for funding for faculty to attend professional meetings.
Student evaluations are shared with faculty members.

top

clon VEL Financial:

Total tuition and fee costs are published in the school catalog.

Students are provided with a realistic breakdown of cost of living expenses
prior to matriculation.

“uition and fee refund policies are clearly stated in the school catalog and
web site.

Tuition and or refundable deposits are returned in a timely manner should a

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student decline matriculation.

e A detailed description of all financial aid programs is listed in the school
catalog.

e Trained personnel are available to provide financial counseling.

e The medical school participates in federal loan program or regulated private
loans that provide competitive interest rates.

e Financial aid disbursements are made to students in a timely manner.

s Scholarships on the basis of merit or need are available to qualified parties.

top

e Each school is evaluated for history of problems with licensing boards or
other regulatory agencies.

e Each school is evaluated for infractions with student loan programs.

e Each school is evaluated for a history of failing to return tuition or deposits in
a timely manner.

e Transcripts, licensing and hospital privileging endorsements are available in
a timely manner at a nominal charge.

e The medical school insures that all student records are accurate and kept in
perpetuity in a secure location.

 

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The threshold for meeting or exceeding AAIMG evaluation criteria was a minimum
of 75% compliance in each category.

e St. Georges School of Medicine,
Grenada, West indies
Deficiencies
_ Section IVa
- Section VII i

e Saba University School of Medicine,
Saba, Netherlands Antilles
Deficiencies
Section Ic
Section llle
Section VI i

 

e American University of the Caribbean:
St. Maarten, Netherlands Antilles
Deficiencies
Section I ¢,i
Section I! k
Section IV f,n
Section Vg
Section VII i

e Ross University School of Medicine,
Portsmouth, Dominica, West indies
Deficiencies
Section | i
Section ll a,n
Section IV f,n
es Section V g,i
* Section VII i

e *Medical University of the Americas,
Nevis, 2000, West Indies
Deficiencies
Section Ic
Section llc
Section Ili d,e
Section iV f
Section V c,n
Section VI i

http:/www.aaimg.com/listmeeting.htm! (“ of 3) [4/21/2005 3.29.00 PM]
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American Association of International Medical . cuates
e Universidad |beroamerica,
Santo, Domingo, Dominican Republic
Deficiencies

Section | c.f,
Section II g
Section Ill k

Section IV a,g,n
Section Vic
Section VII i
Section VIII d

e Instituto Technologica De Santo Domingo,
Dominican Republic
Deficiencies
Section | a,c
Section II f,g,|
Section Ill k
Section IV a,e,f
Section V g,n

e Universidad Autonoma de Guadalajara,
Guadalajara, Jalisco, Mexico
Deficiencies
Section | c,!

Section IV a,n
Section II! k
Section IV f,k,n
Section V g,n
Section Vil i
Section VIll d

e Universidad Autonoma de Ciudad Juarez,
Juarez, Mexico
Deficiencies
Section | c,d
Section Ill k
Section IV a,f,k,n
Section V d,g,n
Section VI f,j
Section VIll d

e Universidad De Monterrey,
Monterrey, Mexico
Deficiencies
Section lc
Section Ill |,k
Section IV a,c,f,k
Section V d,g,n
Section VI fj
Section Vil d

e Instituto Tecnologico y de Estudios Superiores de Monterrey,
Monterrey, Mexico

http:/www.aaimg.com/list/meeting.html (2 of 3) [4/21/2005 3:29:00 PM]
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American Association of International Medical ates
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Deficiencies

Section Ic

Section Ill k

Section IV a,f

Section VI j

Section Vill d

e Universidad de Montemorelos,
Nuevo Leon, Montemorelos. Mexico
Deficiencies

Section Ic
Section II k
Section Ill k

Section IV a,f
Section VI f,j

* This school was listed as provisional in the last report. It is rare for AAIMG to find
75% compliance for a new school, particularly in the Caribbean Basin. Of 9 new
schools to open in the Caribbean and Central America since 1997, this is the only
school with a permanent, suitable physical facility, adequate staffing and
developed clerkships.

 

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American Association of Ir.ternational Medica duates

 

 

evaluation teams to have multiple
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school listed below in order lo arrive

   
  
  

 

     

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yf Wsdorn.”
« Windsor School of Medicine,
St. Christopher, West Indies, 2000
Deficiencies
Section | a,b,c,d, e,g,h
Section II b,c,d.f,
Section Ill b,c,d,e,9,h,k
Section IV c,f,g,j,.k,m,n
Section V a,d,e,f,h,j,,.m
Section VI a,b,c,d,e,f,g,h.1,j
Section VIl b,c,e.f.g,
Section Ville

 

No substantive changes were noted since the last site visit. The entire campus still
consists of two small rented buildings in an industrialized port area. Classrooms
are poorly equipped with one inadequate multipurpose lab and no real medical
library. One anatomy cadaver is used for multiple terms. Course descriptions and
the curriculum breakdown are inadequate. Small faculty teaches numerous
courses and there no listing of clinical hospital affiliations. There are no federal or
regulated private loans. Complaints have been received from students about slow
refunds and withholding of transcripts. Free housing advertised on web site is so
poor that most students will pay to rent apartments.

» University of Sint Eustatius,
St. Eustatius, Netherlands Antilles, 1999
Deficiencies
Section | b,c,d,e,h
Section II c,d,k,|
Section lil b,c,d,e,,i
Section IV c,f,|
Section V b,c,e,f,h,j,l.nm
Section VI b,d,e,f,h
Section VII b,d,e,f,g,!

Section VIil b,c

No substantive changes were noted since the last site visit. A promised campus

complex has failed to materialize and there has been significant turnover in faculty
and aclministration. Classrooms are in rented local buildings and can require up to

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American Association of International Medical juates ——
a 30 minute walk from one area to another. “Dorms” are actually run down local
hotels. There is insufficient library space and inadequate book and journal holdings
although the computer lab is well equipped. Curriculum has a minimal 32 month
total duration with an unrealistic number of basic science courses crammed into
four terms. Schoo! does not publish hospital affiliations or loan programs. Large
student body contingent from African country was withdrawn by government last
year. School accepts large number of transfer students, some without proper
documentation or completion of a full basic science curriculum. Advertising of
success rates on web site is misleading.

e International University of the Health Sciences,
St. Christopher, West Indies, 1997
Deficiencies
Section | a,b,c,f,g,h
Section II a,b,c,d,e,f,g,h,j,k,I,
Section Ill b,c,d,f,h,|,k
Section IV c,d,e,f,g,k,m
Section V b,d,e,f,g,h,i,j,k,|.m,o
Section VI b.c.d.e.f.g,h,lj
Section Vli a,b,c,d,i
Section VIll a,b,c,e

No significant changes noted since last visit for school with a primarily distance
learning curriculum. Grants advanced placement to allied health professionals, full-
time residence on St. Kitts is not required. Problem based learning on computer
with tutorials gives insufficient basic science preparation. No labs or real library at
“campus” site which is a solitary rented building, “ Brannigan House”. Lacks
permanent onsite faculty and the web site list is misleading about actual faculty
involvement with students. While hospital experience on St. Kitts has expanded,
local physician preceptors are not skilled in problem based learning. There is no list
of clinical sites and no federal or regulated private loans are available. Several
state licensing boards will not license graduates of this school. Marketing is
misleading on web site. Several new affiliations listed in India but Medical College
of London does not appear to exist nor have a current link from IUHS. Web site
advertises eligibility to take PLAB in U.K. but this was not confirmed by General
Medical Council in U.K. The website for IUHS has been expanded to list affiliations
with other institutions in the United States, United Kingdom and India. There were
no site visits to these “affiliates” and the London contact appears to have vanished.

e St. Matthews School of Medicine,
Ambergis Caye, Belize, Central America, 1997
Deficiencies
Section | b,c,d,f,h
Section li c,e,k,|
Section Ill a,b,c,d,e,f,i
Section IV b,c,f,g,m,n
Section V b,d,e,f,h,1,1,j,,.m,n
Section VI a,b,e,h,i
Section VII b,e,f,i
Section Vill c

This school has experienced serious internal management problems with both high

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American Association of Irternational Medica’ juates —
faculty and administrative turnover. Relocation of basic science campus last year
to a rented office building in the Cayman Islands provides only the most basic
classroom facilities. The labs and library remain inadequate; plastinated parts are
used in anatomy instead of cadavers. School is very decentralized and the Maine
campus at a small remote college still lacks proper structure for a basic science
instruction. Portion of instruction done in USA may create licensing problems,
although this school is still too new for many test cases. Possible licensing issues
are stil) not realistically addressed by the school. School takes significant amount
of transfer students and failures from other medical schools. Web site is misleading
as to facility and actual onsite fulltime faculty. Clerkship program is loosely
organized.

e University of the Health Sciences, Antigua,
West Indies, 1982
Deficiencies
Section | a,b,c,d,g,h
Section II a,b,c,d,e,f,g,h,j,k.1
Section Ill b,c,d,h,j,k
Section IV f,g,l,.k,m
Section V b,c,e,f,,h,j,k,],m,n
Section VI a,b,c,d,e,f,g,h,
Section Vil b,c,d,e,f.g
Section Vill a,b,c,d

Distance learning, part-time attendance, and advanced placement to allied health
professionals are part of this curriculum. The school also specializes in quickie, but
expensive, “conversion” degrees-for dentists, veterinarians, doctors of osteopathic
medicine and chiropractors to MD’s. There is a run down permanent campus in a
remote location with a guard at the gate. Visitors are not welcome. The dorms are
old barracks. There are insufficient laboratories and a small library with a few old
books and journals. Insufficient faculty are onsite (one elderly fulltime anatomist
this past visit) and the faculty list on web page is very misleading. There is no list of
clerkship affiliations or preceptors and the school has no relationship with the local
hospital or health care community. Stafford loans were withdrawn on an
emergency basis in 1995 by US Department of Education, there are no current
financial aid programs. Letters sent by former students complain of inability to
obtain transcripts and vital licensing endorsements as well as tuition refunds. This
school has been in existence over 20 years but web site fails to list graduates with
residericies. There are email contacts for more recent graduates but we received
few replies.

e Spartan Health Sciences University,
St. Lucia, West Indies, 1981
Deficiencies
Section | a,b,c,d,h
Section II a,b,c,d,f,g,j,k.|
Section Ill c,d,k
Section IV c,f,m
Section V b,ce,f,h,j,l,m
Section VI a,b,e,f,h,|
Section Vil c,e,f,|
Section Vil a,b,e

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American Association of Irternational Medical _uates
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There are no significant changes since the last site visit. There is some
improvement noted in the permanent campus building that sits next to a bottling
plant in an industrial area of Vieux Fort. There is a small stable faculty who each
teach several courses. Nearly all are foreign trained with the exception of 2
Spartan graduates who never completed residencies. There is no alteration in the
minimal four trimester basic science curriculum which is taught in a piecemeal
approach, It is impossible for all the basic science and pre-clinical topics to be
covered in such a short time frame. Two cadavers, one male and one female, are
present in the tiny anatomy lab. There is a small library with internet access but the
holdings of books and journals are insufficient. There is no listing of hospital
affiliations and students must pay own clerkship fees, which can be several
hundred dollars a month. 66 weeks of required core clerkships includes only 6
weeks of Pediatrics but 20 weeks of core surgery and surgical subspecialties. The
main teaching hospital is a small facility for civil servants in Juarez. Mexico, which
tends to run a low census. There is little structure to the teaching program and
students must often find there own clerkships in the USA. Federal loans were
withdrawn 1997. Despite establishment in 1981 and claims of licensed graduates
in 40 states, this school can provide the names of fewer than 60 licensed
graduates. There is a history of legal sanctions by California and injunctions by the
Texas Attorney General.

« St. James School of Medicine,
Bonaire, Netherlands Antilles, 2000
Deficiencies
Section | a,b,c,d,f,g,h
Section II a,b,¢,d,e,f,g,h,j,k,|
Section Ill b,c,d,g,h,i,j,k
Section IV d,f,g,.k,m,n
Section V b,c,d,e,f,h,j,k,1.m,n,o
Section VI a,b,c,d,e,f,g,h,|,j
Section VI b,c,d,e,f,9,/

Section VIll c

This school began by taking transfer students to clerkships before basic science
instruction actually commenced. The basic science curriculum attempts to cram the
first two years of medical school into four short trimesters. The facility consists of a
few classrooms in a very old school building with no gross anatomy lab or
cadavers. There are a few microscopes and improvements in classroom
equipment but the overall impression is one of high school science facility, and a
poor one at that. There is limited internet access but no real medical library. Up to
date journals and texts are woefully absent. There is high faculty turnover and
some teachers are also students. Some faculty teach many courses that are often
not within their field of expertise. This school has minimal admission standards and
has a high percentage of transfer students. Recruiting is directed toward granting
advanced standing to allied health professionals; a policy clearly stated on the web
page. Allied Health professionals pursuing this course of study are at risk for
licensing problems. Another program targets foreign trained MD's in a
“rehabilitation” program. There is no listing of clerkship affiliations in the cata'og or
on the web page and applicants are given false assurances that their clerkships
will meet “greenbook” standards by recruiters.

St. Martinus University, Curacao, Netherlands Antilles, 2003

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American Association of International Medical, .uates

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lt appears every Dutch island with the exception of Aruba now has a medical
school. There is a sketchy web page showing a minimal basic science program
crammed into four short trimesters. The new medical is located in Otrabanda, a
charming, older area trying to attract business and tourist interest. The facility is a
cavernous, old school building sorely in need of renovation for basic medical
school facilities such as labs and a library. There were a handful of students and
three faculty (one was the Dean) present. The Dean was a former administrator at
the University of Sint Eustatius. This school hopes to attract Venezuelan and South
American students with plans for extensive development and charges a great deal
of tuition for a practically non-existent program. There are no loan programs to
date. Curacao is a large island with one large major teaching hospital and more
sophisticated medical community than most Caribbean islands. For the time being,
St. Martinus rates Global Deficiencies Categories I-VIII.

St. Mary’s School of Medicine, Castries, St. Lucia, West Indies, 2003

This school first surfaced in the Pacific Basin with a WHO listing in the Cook
Islands, Rarotonga. There was an aborted effort to hold classes in the Hawaiian
Islands resulting in the loss of tuition to many students. The promoter, who had an
office in El Paso, Texas, then began instruction across the border in Juarez,
Mexico, following the time honored tradition of CAHSU and Spartan. Complaints to
the Texas Attorney General by students led to governmental scrutiny and this
school vanished from site for a few years. It has resurfaced with a web site and
alleges a campus now on the island of St. Lucia. The address on St. Lucia is
actually a post office box and there was no evidence of a campus. Furthermore,
the World Health Organization is unable to verify any request from the Ministry of
Health of St. Lucia to list this school in the World Directory of Medical Schools. St.
Mary’s WHO listing has been removed from the Cook Islands. Students are not
approved as of the fall of 2003 to take the USMLE exams by the ECFMG. The web
site gives no names to contact other than “Admissions” which is how inquiries are
answered by email requests. Students are not required to pay an application fee by
must put down a non refundable matriculation of $950.00. St. Mary’s is more than
deserving of the Global Deficiencies, Categories I-VIll. There are probably a few
confused souls who will actually send a deposit to this place.

e Grace University,
Belmopan, Belize, Central America, 2000
Deficiencies
Section | a,b,c,d,f,gh
Section II a,b,c,d,e,f,g,h,j,k.
Section lll a,b,c,d,e,f,g,h,|j,k
Section IV c,f.g,L.k,m
Section V a,b,c,d,e,f,hj,kiimn
Section VI b,c,d,e,f.g,h,bj
Section Vil b,c,d,e,f,.g,h
Section VII a,c,d

Grace University has been in existence for over 15 years and reinvented itself on
several occasions. Opening initially on the island of Nevis with a minimal operation,
a Cambridge, England, “campus” was subsequently opened. The site visit in 2001
revealed a shabby, run down upstairs flat on the outskirts of Cambridge promoting
a distance learning program with advanced standing for allied health professionals.
The school closed briefly when it lost its charter then obtained registration in
Belize. The operation moved to the capital, Belmopan, with promises of building a

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new campus. Grace remains true to its prior modus operandi and has its classes in
a rented two flat building on a dirt side road in a residential area. A handful of
students hear lectures by a few visiting faculty in the made over living room and
bedrocm “classrooms’ in this dreary place. There is no catalog and the web site
misrepresents the program, facility and faculty members. There is no list of hospital
affiliations. This school has run out of the promoter’s home in Florida despite
regulations by the Florida Department of Education that requires an approval
process. Run from this one.

e Central American Health Sciences University,
Belize City, Belize, Central America, 1996
Deficiencies
Section | a,b,c,d,f,h
Section ll a,b,c,e,f,g,j,k,|
Section ltl b,cd,e,g,h,k
Section lV a,b,c,d,f,g,j,l.m
Section V b,c,d,e,f,h,j,k, m,n
Section VI b,c,d,e,f,g,h,1j
Section Vil c,d,e,g,I
Section VIil de

There are few changes since the last site visit. The school has moved further from
Belize City into an area designated as the “free zone.” This is a guarded area for
businesses investment and other entities. The building is an improvement over the
former structure but nevertheless rented. There is a large library with computer
access but holdings are sparse and most woefully outdated. Students live in
nearby small village; this is an isolated area. The anatomy lab held two desiccated
cadavers with dirty dissection tools lying about on trays. There is minimal faculty
presence; most are part-time. The handful of students present during the site visit
state they spend only two terms in Belize then go to the Juarez, Mexico, “carnpus.”
Our site visitors confirmed that this is, in fact, a store front facility directly across
the border from El Paso, Tx. The school does not publish a hospital affiliation list.
There is a history of sanctions by the Texas Attorney General.

e American International School of Medicine,
Liliendaal, East Coast Demerara, Guyana, South America
Deficiencies
Section | b,c,d,f,g,h
Section || a,c,d,e,f,g,h,j
Section If b,c,d,e,h,i,k
Section IV a,c,f,g,m
Section V b,d,e,f,h,j,k,J,m,n,o
Section VI a,b,c,d,e,f,g,h,1,j
Section VIl b,d,e,f.g
Section VIll a,c

Application to this school can only be made online and faxed to a number in
Massachusetts. Information available on the web site is still incomplete. Minimal
facilities and labs still characterize this school which gives advanced standing to
allied health professionals and clerkship credit for on the job training. There is
some experience available in local hospitals. There are few fulltime qualified faculty
members and no list of clerkships. The promoter is a graduate of Grace University

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American Association of Irternational Medical Juates
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with ne postgraduate training. Tuition refunds are given only in the case of proven
serious illness per the web page.

e Centro de Estudios Universitarios Xochimilco,
Ensenada, Mexico
Deficiencies
Section | b,c,d,f.gh
Section II a,b,c,e,f,g,h,1,),
Section III b,cd,h,},k
Section IV a,f,g,k,m
Section V d,f,g,h,I,n
Section VI b,c,d,e,f,g,h,1,j
Section VII c,d,e,f,g,|
Section VIII a,b,d

This school has opened and closed in a number of locations in Mexico for the past
15 years. It moved from central Mexico to the Baja peninsula to attract gullible
Americans. It was featured in 1992 on a national investigative news program and
subsequently lost U.S. Federal loans. The campus is still housed in a former hotel.
There are no labs and few fulltime faculty. Admission standards, course
attendance and testing requirements are lax. Faculty is primarily part-time and
courses are taught in a haphazard order. There is no list of affiliated hospitals and
haphazard clinical supervision.

 

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American Association of International Medical dates
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it is distressing to see so many new medical schools sprouting up on virtually any
independent island or promoters using third world countries to set up “store front”
type operations in the United Kingdom. The title of physician is honored and
esteemed throughout the world. Numerous television series glamorize the role of
physician as living a dynamic, heroic lifestyle. Unfortunately, many promoters in the
offshore medical community exploit this image by setting up substandard
proprietary schools that prey on the naive and under qualified applicant.

At AAIMG we get dozens of emails each month from prospective applicants who
ask for an evaluation of their qualifications. A typical applicant unfortunately, has
an undergraduate GPA below 3.0, no MCATS or total MCAT scores under 20.
Most of these young people have been accepted at a substandard school that
charges a tuition rate higher than many US medical schools. All we can do is warn
them that a poor basic science education and a haphazard clerkship program
predict little or no success in passing the exceptionally difficult USMLE Steps | and
Il. According to an analysis of USMLE passing rates by the Education Commission
for Foreign Medical Graduates, U.S. citizens who are International Medical
Graduates have lower passing rates and lower scores than foreign national IMG's.
The US citizen with an inferior education who fails to pass the USMLE exams
cannot obtain a residency and will have little to show but a huge debt. Prospective
medical students should consider the following WORDS OF CAUTION:

e “Store Front” medical schools cannot offer
the level or depth of education needed to
pass the USMLE exams nor attract the
best faculty.

« Substandard schools often exaggerate or
distort their poor USMLE passing rates.
As the ECFMG does not release scores
of individual schools, actual passing rates
are difficult to verify. Beware of any
unusually high claims of high passing
rates that cannot be verified.

e The recruiters are trained in high pressure
sales tactics, with the same techniques
that sell automobiles, aluminum siding and encyclopedias. Their goal is a
sale; to make a profit for the school, often in the guise of flattery and concern
for your welfare.

e The tuition charged by most substandard schools is very high. Some of these
schools have private loans from the secondary medical education loan
market. It is important to note that some of these loan companies do not
rigorously examine the quality of foreign medical schools they approve for
loans,

e Interest rates charged in the secondary loan market are not deferred; the

 

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American Association of International Medical gp eulates we
interest clock starts clicking as soon as the loan is paid out. Numerous fees
may also be charged. Loans may also be made for living expenses; thus
increasing student cebt level.

e The loan debt from secondary market loans is not dischargeable in
bankruptcy; this means payment default will be rigorously pursued by the
loan organization.

e The reputable schools often charge a higher tuition rate but offer a more
rigorous education and are likely to have FFEL or internal loan programs.

e STATE LICENSING BOARDS are becoming increasingly aware of
substandard schools, especially those offering advanced standing and a
medical degree by distance learning. Denial of a license to practice to any
physician is reportable on all licensing board applications and to credential
verification organizations. Acceptance into a residency program does not
guarantee future licensure.

In summary, the graduate with an MD who cannot pass the USMLE exams has
little to show but a huge debt that can be as high as $150,000. The interest clock
continues to run; payments cannot be deferred after graduation unless the
graduate has passed all exams and is engaged in postgraduate training. Job
prospects are limited as is earning power and the Doctor of Medicine is little more
than an empty title. The loan repayment will be very high and any graduate in
payment default will vigorously pursued. Years better spent in pursuit of another
career will have been lost.

 

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e St. Christopher University
e Kigezi International

e Medical College of London
e London Medical College

 

Since 1996, the United Kingdom has become a site of
convenience for new medical schools chartered in
other countries. The medical school promoters obtain a
World Health Organization listing but have little to no
presence in the country. They rent offices and a few
classrooms at local colleges in the U.K and operate a
“campus” and program leading to the Doctor of
Medicine degree. Cambridge, England, is an ancient university town and home to
many prestigious British colleges that was once home to three such schools: Grace
University (chartered in the Caribbean then Central America), St. Christopher
(chartered in Senegal) and Kigezi (chartered in Uganda) all have had a “campus”
there. As the story goes, the promoters of St. Christopher and Kigezi got their start
as students and faculty at Grace. The recent site visit shows only Kigezi remaining
in Cambridge. St. Christopher now rents facilities at the Polytechnic University in
Luton and Grace has departed to Belize, where it actually holds a charter.

 

Recently, two new schools catering to U.S. citizens have appeared in London. The
Medical College of London was started by a former administrator at St. Christopher
and claims to exist through a relationship with the College of Medicine and Health
Sciences, on the small island of St. Lucia. The World Health Organization shows a
listing for this name through December 2001. There is no facility bearing this name
on St. Lucia and the island government is not familiar with the school. Enter
London Medical College advertising an M.D. by distance learning on the web site
a of International University of the Health Sciences. The relationship appears short
ee lived as London Medical College appears to have terminated the relationship as of
June 3, 2003.

St. Christopher University School of Medicine,
Luton, England, 2000
Deficiencies

Section | a,b,c,d,f,g

Section II b,c,e,f.g.),k.!
Section II a,b,c,d,f,h,|,k
Section IV c, df.g.

Section V b,c,d,e,f,h,j,k,,.m,n
Section Vl a,b,c,d,e,f,g,1,j
Section VII b,e,f,

Section Vill e

St. Christopher has given up the more prestigious environs of Cambridge and

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moved its operation to the more mundane campus of Luton University, just north of
London. Other than downscaling the location, little has changed about this
operation. The labs and classrooms are a few rented rooms from the local
university and the bulk of the faculty are undergraduate Luton faculty moonlighting
or unemployed M.D.’s from former British colonies who are unable to pass the
PLAB or practice in the U.K. There are a few Ph.D.’s that are both students and
teachers. There are a large number of transfer students frorn the Dominican
Republic and other Caribbean schools, many with a history of failures. The
operation in Senegal is virtually non-existent; a call to the Senegal “office” is
answered by a local lady with limited English who cannot name any local faculty, or
students or describe any teaching activities at the hospital. Although this school
only opened in 2000, it advertises US clerkships in 72 “Greenbook” hospitals and
board passing rates of 100% in 2000 and 82% in 2001. This type of advertising is
not surprising since the promoter is a graduate and former vice dean of Grace
University who never completed postgraduate training. St Christopher had a fiscal
and credential relationship with the disastrous St. John's University School of
Medicine, closed by the Attorney General of Oregon. See
http:/Awww.doj.state.or.us/releases/rel072500.htm.

Kigezi International School of Medicine,
Cambridge, England, 2000
Deficiencies

Section | a,b,c,e,f,h

Section II b,f,g,k,|

Section ll a,b,c,d,h,j,k
Section IV c,d,f,g,m

Section V b,c,d,e,f,hj,k,m.n
Section Vi a.b,c,de,f,g,j
Section VII b,c,d,f

Section Vill d

There have been few fundamental changes since the last site visit. The core of the
school remains housed in the same small three story facility in Cambridge but it in
no manner meets the standards of a true medical school teaching facility. Students
go to the nearby Eurocenter for classes and can use building facilities. The library
has added holdings and computers. More names of instructors appear in the
catalog but the bulk of instruction is done by part-time faculty. Clerkships are done
primarily, according to students, in the U.K and there are options to go to a hospital
in Uganda. There is no listing of advertised clerkships in the United States. There
is a US office, however, in the small Ohio river town of Ripley. What is particularly
astonishing is the high tuition rate charged by Kigezi for such a minimal program.

Medical College of London, London and Greenwich-Medway, Kent (2001)

This is a new school chartered as a U.S. Delaware corporation but has a base of
operation in the United Kingdom. AAIMG did not learn of the existence of this
facility until recently so a site visit has not yet been conducted. It advertises
locations at Guys Campus of Kings College in London but will soon be moving to
the University of Medway. There is a sketchy web page where vital information
such as the curriculum, tuition information, clerkships affiliations etc. is missing.
Not surprising, we recognize the promoter as a former Dean at St. Christopher.
There is an advertised affiliation with St. Lucia College of Medicine and Health
Sciences; a facility our site visitors failed to find on the island of St. Lucia. There

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was a WHO listing from January 1 to December 31, 2001, which has expired.
AAIMG has contacted the WHO and General Medical Council and can find no

separate WHO listing for Medical College of London or any new school in St.
Lucia.

London Medical College (Affiliated with IUHS)

References to this school appeared on the web site of International University of

the Health Sciences as an affiliated program. The link from the IUHS website was
terminated in June of 2003. The WHO cannot verify a separate listing for London

Medical College.

 

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ROPEAN MEDICAL SCHOOL REPOR

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INTRODUCTION

The AAIMG report on Eastern European medical programs includes a small
number of medical schools in various countries that offer an English language
curriculum to foreign students. A majority of the programs leading to a Doctor of
Medicine degree started after 1990 at reputable institutions accredited by their
respective countries. There have been numerous social, economic and political
changes in Eastern Europe and in the countries of the former USSR so that many
schools have been renamed or listed under a new country by the World Health
Organization. The World Directory of Medical Schools is is being revised and
should be consulted when available. The ten schools visited by AAIMG for the
initial Eastern European report in 2001 all met or exceeded evaluation standards of
this organization. Since 2001, many new English language programs have opened,
some in very remote locations.

The association of an English language program with a historic university or a state
approved medical school does not guarantee quality or adequate preparation to
pass the difficult USMLE Steps | and Il. Our site visitors in 2001 found numerous
examples of disgruntled American students who felt they were mislead about the
contert of the medical curriculum, requirements for language fluency and local
living conditions. AAIMG has received a substantial number of complaints about

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Eastern European schools. In nearly every case, the complaining student went
sight unseen to a foreign medical school, rather than follow the time tested advice
of AAIMG to make a personal visit to the campus before attending. The focus
of this section is somewhat different than the more detailed reports on Caribbean,
Mexican and Central American programs. The goal of the Eastern European report
is to provide general observations and guidelines pertaining to the study of
medicine in Eastern Europe and the countries of the former USSR.

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Until the Flexner report, aspiring American physicians with financial resources and
proper social contacts completed all or part of their medical education at
prestigious universities in Germany, Austria, Belgium, France or Italy. As the
quality of American medical education improved during the first half of the 20th
century, Europe eventually became a destination of study for those Americans
unable to gain acceptance in their own country. As Western European medical
schools gradually admitted fewer and fewer North Americans, medical schools in
Southern Europe became the next best alternative.

A majority of the founding members of AAIMG received their medical education in
Spain and Italy. Studying medicine abroad between 1950-1980 meant attaining
fluency in a foreign language and adaptation to a different health care and
educational system. We went with the expectation of a high level of integration into
the local culture. A fifth pathway year was required to compensate for perceived
deficits in clinical training and technology during the third and fourth years.
Enrollment in Italian and Spanish medical schools began to dwindle with the
establishment of English language programs in the Caribbean Basin. In the past 10
years, Eastern European medical schools have entered the market place as a
highly viable alternative for medical studies. Many programs are located at famous
centuries old universities that have produced world-renowned scientists and Nobel
Prize winners. The establishment of a separate language based tract brings badly
needed hard currency to institutions that rely primarily on state funding. The
presence the English speaking students likewise stimulates faculty to improve their
English language skills and keep abreast of new technological developments.

The original English language programs began with small groups of students in
Poland, the Czech Republic and Hungary. English language medical programs are
attended by students from a variety of countries including the United States,
Canada, the Scandinavian countries, The United Kingdom, Greece, India, arid the
Middle East. In the regular medical program foreign students are numerous and
study in the official language of the host country. The largest percentage of
Americans studying in Eastern Europe are currently concentrated in Poland. This is
due to the fact that Poland has many major universities that have been approved
by the Department of Education for FFEL loans. However, not all Universities in
Poland have received D.O.E. approval to this date. English language programs are
found in several established medical schools in The Czech Republic and Hungary.
These countries are actively seeking approval by the U.S. Department of
Education on the basis of having a medical education system that has standards
equivalent to those in the United States.

Despite age, history, and reputation, all Eastern European Universities have

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struggled to overcome decades of repression of free thought and expression by
their former Communist Governments. In some cases, prominent researchers and
scholars were imprisoned, executed or fled to other countries, leaving an
intellectual and leadership gap in many university faculties. Nevertheless, these
seats of higher learning have struggled to re-establish an atmosphere of free
thought and scholarly research. An understanding of the political history and
suffering of the residents these countries will help the aspiring medical student
make a better adjustment to local conditions. The next section lists common
themes identified by AAIMG interviewers during site visits by listing advantages
and disadvantages of medical studies in Eastern Europe.

ADVANTAGES OF EASTERN EUROPEAN PROGRAMS

e The medical schools are older, well-established centers of learning that are
part of larger university structures. The university infrastructure provides
library, lab, research, computer facilities, dorms, cafeterias and recreational
facilities.

e There is a well-established network of hospitals and clinics serving as
teaching facilities. The patient population base is sufficient to provide
exposure to a broad spectrum of medical problems in both ambulatory and
inpatient settings.

e There is a long tradition of scientific inquiry, scholarly research and
publication throughout most university structures. There are active research
projects at all major University centers.

e There is a large faculty with a broad base of basic science knowledge and
clinical experience. Most will have a working grasp of the English language
to be able to read scientific publications.

e Students studying in Eastern Europe have access to significant cultural
events, museums and recreational opportunities. Local public transportation
is cheap and available in larger cities. Rail connections make excursions to
other countries readily available.

e Tuition rates are lower at Eastern European Universities than at the better
proprietary model schools in the Caribbean. The cost of living and services
are reasonable. The U.S. dollar currently has a favorable exchange rate in all
Eastern Europe countries.

« Americans have an opportunity to learn a new language, adapt to a new
culture and work in a health care delivery system that developed from
historical and political systems quite different from those found in the United
States.

e Asix-year program with premedical studies and language instruction is
available in most English language programs to accommodate students who
need to complete these courses. Classes are normally small in size.

e A few programs will allow completion third and fourth year rotations in the
USA, Canada and Great Britain.

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DISADVANTAGES OF FASTERN EUROPEAN PROGRAMS

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Despite assurances by stateside recruiters, American students must learn to
speak the local language if they are to become competent physicians.
Language instruction is mandatory in all programs. Students with minimal
fluency in the local language will be at a severe disadvantage completing
clerkships.

Although instruction is in English, many of the professors speak with strong
accents or have minimal English language fluency.

American students cannot expect to learn the fundamentals of a proper
history and physical by using the services of an interpreter.

Testing practices are significantly different in European Universities and are
heavily skewed toward demonstration of comprehensive knowledge and a
tradition of oral examinations.

Preparation for the USMLE is left up to the individual student in most cases,
although some programs are attempting to use multiple choice type exams
Technology is often not comparable to that of U.S. hospitals and varies
greatly in the hospitals and clinics.

Library and computer resources for the English language students are often
not comparable to those available to local medical students. In other words,
the English language program facilities, if separate, are not always equal.
Although patient numbers are sufficient for exposure, medical students in the
English language program are in competition with local medical students and
postgraduate trainees for cases. American students complained that they
were often relegated to scut work and missed out on more interesting
learning opportunities.

Human relations problems were reported between local students of those in
the English language program. Students in the English language programs
are usually more affluent and often demanding of special treatment, creating
tension and feelings of resentment.

Low faculty wages and the University's need for hard currency does not
always insure integrity in the admission process or examination
administration. These practices vary significantly and do not characterize all
Eastern European medical schools.

The typical work day of a third year European student is rarely as long or
rigorous as that demanded of medical students in the U.S. The typical
workday is normally 8 hours with call schedules either lacking (often due to
lack of call room facilities) or a fraction of the 1:4 ratio typical of U.S. student
training programs

Poor communication skills contribute to the isolation of foreign students from
the teaching team. Lack of language fluency slows down medical team
rounds, tries the patience of nursing staff and often confuses the patient.
American patients are notoriously intolerant of foreign trained physicians with
poor communication skills. Europeans are culturally politer and more
deferential to medical authority, but their patience is not infinite.

Lack of language fluency leads to demoralization and isolation. AAIMG
evaluators observed that Americans with the poorest levels of adjustment
and most complaints had achieved the least amount of language fluency.
No English language program publishes a comprehensive list of USMLE
Step |, II and CSA passing rates or has a complete list of graduates with
residencies.

Students in the English language program are disadvantaged in terms of
representation in student government and have little recourse for appeal in
cases of academic failure or disciplinary decisions.

Eastern European nations vary in requirements for “eligibility” to practice

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medicine in that country. Social service or internship requirements may add 1-
2 additional years of study.

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The study of Medicine in Eastern European countries has many advantages and
disadvantages for American citizens. Many of the disadvantages have more to do
with the nature and expectations of young American medical students and less to
do with the actual quality of the education. Again, we visited established, highly
respected medical schools with a long history of training physicians and scholarly
activities. It is not the intent of this report to devalue the quality of medical
education in any Eastern European countries, but to provide some realistic
guidelines for prospective American medical Students.

The public education system and post secondary institutions in the United States
do not prepare our young people to speak a foreign language. Therefore, the
American students in the English language programs visited by AAIMG were at a
severe disadvantage when compared to their Scandinavian, Western European
and Canadian counterparts. If we were to subjectively rank the adjustment levels of
various student groups encountered during the AAIMG site visits, they would read
as follows (most to least adjusted)

(1) Students of any nationality with cultural roots in the host country and some
language fluency;

(2) Students from Western European countries;

(3) Students from Scandinavian countries;

(4) Students from the U.K and Canada;

(5) Other nationalities (Greek, Middle Eastern, Asian);

(6) American citizens.

Our site visitors found many examples of satisfied Americans who had attained
some language fluency and were progressing well with their medical studies.
However, our evaluators encountered far to many vocal, complaining young
Americans who regretted their choice of an Eastern European medical school and
were looking for opportunities to transfer. This phenomenon occurred in every
country. It was unclear, however, if many of these dissatisfied students would be
satisfied or successful in the event they transferred to another program. Medicine
is not for the faint hearted and is a grueling course of study in any country.

English language programs are growing rapidly in Eastern Europe, some without
any particular attention to quality control. Many appear to be headed in the
direction of a proprietary model where a few school officials receive beneficial
interest from tuition paid by foreign students. While North American students are
the dominant population in the Caribbean schools, the Eastern European schools
attract students of many nationalities. Although the list of new programs grows
annually, AAIMG chose to visit only established programs that have higher
concentrations of American students.

While there were strengths and weaknesses at all of the English language
programs, all programs met or exceeded AAIMG criteria. Again, these are
programs that are part of established universities with qualified staff, research
facilities, and a well-developed infrastructure. On the other hand, these universities

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would do well to internally re-evaluate the need for a separate foreign language
medical program from a strictly pedagogic point of view. A separate program
creates different standards for different groups and a degree of tension and
divisiveness between the local and foreign students. Unfortunately, fiscal
considerations may outweigh purely educational decisions in some Eastern
European medical programs.

EASTERN EUROPEAN PROGRAMS MEETING AAIMG CRITERIA

In every case, the Eastern European medical schools visited by AAIMG evaluators
more than exceeded the 75% of the evaluation criteria listed on this web page.
Compared to medical schools catering to North Americans in Mexico, The
Caribbean Basin and Central America, Eastern European medical schools are
superior in nearly every respect. The English language medical programs,
however, varied in overall organization, educational quality and student
satisfaction. Therefore, our evaluators have prepared some anecdotal comments
about the English language programs for each medical school.

POLAND

Jagiellonian University Medical College, Krakow

Krakow is an elegant, historic city with a centuries old medical school and large
University structure. The University has a tradition of scholarly activity and names
Copernicus as a distinguished alumnus. There is a four-year and a six-year English
language program with roughly 30-35 students admitted annually to each section.
The English language program is dominated by Scandinavian students, particularly
Norwegians, who tend to study in the six-year program. The curriculum in the basic
and clinical sciences is compatible with the US medical school curriculum.
Following the European model, actual clinical experience begins in the second
year. There is little room for electives in the fourth year and no provision to return
to the US, UK or Canada for electives. Tuition is somewhat higher than other
schools but this program has a great deal to offer. Polish language instruction is
longer and more intense than instruction in other programs. Admission is very
competitive and standards are high. There are six state hospitals and numerous
clinics with sufficient numbers of patients to keep students and residents busy.

 
 

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University of Medical Sciences in Pozan, Poznan

This English language program, which opened in 1993, has one of the higher
concentrations of North American students and markets aggressively. The medical
school is unique in its affiliation with Farleigh Dickinson University and Mercy
College for a 7 year B.S./M.S. program. There is a six-year option for students
needing premedical studies and a more attractive four-year curriculum. The four
year curriculum has a “medical Polish" language course in the first and second
years but the contact hours are insufficient to promote substantial language
proficiency. Lack of fluency in Polish and frustration with all aspects of the

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program, especially hospital rotations, was apparent among American students.
Unfortunately, recruiters minimize the importance of language acquisition by
assuring prospective applicants they can rely on interpreters during their hospital
rotations. The basic sciences are a standard curriculum similar to medical schools
in the USA except that clinical medicine experience in internal medicine begins in
the second year. The fourth academic period gives little choice in terms of electives
but foreign students may complete up to 16 weeks of electives in their own
countries. There are five state hospitals and numerous specialty clinics in Poznan.
A historic campus is scattered throughout the central city with dorm facilities
available for students in the English language medical program. There is a U.S.
recruitment office in New York.

Medical School of Lublin, Lublin

Lublin is a University town with one of the country's newer medical schools,
established in 1944. There is a private organization that markets the program in the
United States. The medical school is part of a larger University complex containing
a broad range of facilities. The English language curriculum is four or six years with
more intensive Polish language instruction than found in other programs. However,
the U.S. placement institute assured our prospective applicant that interpreters
could be used in the third and fourth year rotations. There is a small population of
American and Asian students in this program, many of whom paid a substantial fee
of $7,900 to a placement agency in the United States to be guaranteed a seat.
Other nationalities in the program applied directly to the school. There are
approximately 300 medical students admitted to the regular and English language
programs. There was a total of about 170 Americans enrolled in the four and six
year programs. Although there are 5 hospitals and a number of smaller clinics,
patient contact is low due to the large number of trainees. There are opportunities
for rotations at a limited number of hospitals in the USA for students placed
through the private organization. To qualify for rotations in the United States, the
student must first pass the USMLE Step I, then pay up to $200.00 per week for
hospital fees at U.S. affiliates. It is recommended, however, that the third year be
completed in Poland.

Silesian University School of Medicine, Katowice

Katowice is a large industrial city still suffering the consequences of years of
unchecked severe pollution that still plagues Eastern Europe. The city is a major
university center with one of the largest medical school student populations in
Poland. There are two huge campuses and many modern facilities. There is a four-
year and six-year English language program with much the same student body
profile as found in Lublin. There were about 180-190 American citizens present
during our site visit. The same placement institute sends students to Silesian as to
Lublin. There is intense language instruction but recruiters still gave the impression
that the third and fourth year clerkships could be mastered with the use of
interpreters. Although there are ten hospitals serving a larger geographical area
and many specialty clinics, the medical school admits so many students each year
that there is competition for good teaching cases. American citizens sent to
Katowice by the placement institute are eligible for clerkship rotations in U.S.
hospitals if they first pass Step | and agree to pay weekly Hospital fees of up to
$200.00 per week. It is recommended that third year rotations be completed in
Katowice.

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CZECH REPUBLIC

First Faculty of Medicine, Charles University, Prague/Hradec Kralove

Prague is truly the queen city of Eastern Europe and full of marvelous cultural
opportunities. Charles University in one of the oldest Eastern European
Universities founded in 1348. An application to the English language program may
result in admission to the more competitive seats at the Medical Faculty of Prague
or result in acceptance at another campus. There is second Charles University
Medical Faculty about 60 miles away in the pretty town of Hradec Kralove.
Although it is a much newer facility (established 1945), the English language
program curriculum is the same as at the main campus. As in other medical
schools, there is a broad mix of students in the English language program. Czech
programs are six years in duration and the English language program is nearly
identical to the curriculum followed by Czech medical students. An entrance
examination is required for all foreign students to determine proficiency in
undergraduate sciences. Language instruction is intensive in the basic science
curriculum and it is clearly stated that proficiency in Czech is required for
communicating with patients. Americans are a smaller percentage of students in
both English language programs. There are about 200 total students in the English
language curriculum, primarily composed of Scandinavians, Western Europeans,
Greek citizens and students from Middle Eastern countries. Both campuses have
highly computerized library and research facilities and are part of the
Socrates/Erasmus Programme which links major European universities. Prague
has a much larger patient base but the hospitals are scattered throughout the city
and supported by smaller, decentralized specialty clinics. The centralized 1600 bed
University Hospital in Hradec Kralove, however, was more than sufficient for
teaching purposes.

Palacky University Faculty of Medicine, Olomouc

Olomouc is the fifth largest city in the Czech republic located in a primarily
agricultural section of the country. The city has a lovely historical section which
incorporates part of the University. Facilities range from massive 19th century
lecture theaters to modern computerized labs. Czech language courses are taught
seriously and intensively. The library is highly computerized and allows students to
have access to Ovid Medline. The English language program began in 1993 and
has remained a small program with few North Americans. Testing follows the
European oral tradition but there is some attempt on the part of the faculty to
provide multiple choice testing options. Palacky is unique in that the medical school
has its own 1700 bed hospital serving the 100,000 inhabitants of Olomouc and
surrounding rural communities.

HUNGARY

Albert Szent Gyorgyi Medical University, Szeged

This University has one of the oldest English Language programs in Eastern
Europe (16 years) and recently opened a German language program. Hungarian
medical schools are regulated by strict state codes that all students must follow.
The standard curriculum is six years. Hungarian language is taught intensively and
fluency is expected by the time the student enters clerkships in the last two years.
There is a social service internship year that follows graduation from medical
school. Graduates of Hungarian medical schools must write a thesis and pass a

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